Case 6:19-cv-00059-RWS Document 79 Filed 03/20/20 Page 1 of 2 PageID #: 769




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

LONE   STAR     TECHNOLOGICAL                    §
INNOVATIONS, LLC,                                §
                                                 §   CIVIL ACTION NO. 6:19-CV-00059-RWS
                                                 §
                Plaintiff,                       §
                                                 §
v.                                               §
                                                 §
ASUSTEK COMPUTER INC., BARCO                     §
NV,                                              §
                                                 §
                Defendants.                      §


                                             ORDER
       Before the Court are the parties’ Claim Construction and Prehearing Statement (Docket

No. 74) and Joint Motion Proposing Dates for Prehearing Conference (Docket No. 77). The parties

raise two disputes: (1) whether Lone Star may freely allocate its total claim construction briefing

page limit (i.e., 40 pages) between its opening and reply brief and (2) whether Defendants’

designation of “[a]ll method steps, or the combination of method steps and system elements in a

single claim” as a single term for construction is proper.

       First, Lone Star has not shown good cause to change the Local Rule CV-7’s page limit

requirements, which P.R. 4-5(e) incorporates. Lone Star provides no justification for departing

from the general rule, and the Court knows of no such reason. As Defendants noted, allowing

Lone Star to allocate its pages freely may transform Defendants’ responsive brief into an opening

brief. Thus, this request is DENIED.

       Second, Defendants’ designation of “all method steps or the combination of method steps

and system elements in a single claim” as a single, allegedly indefinite term is improper. Though
Case 6:19-cv-00059-RWS Document 79 Filed 03/20/20 Page 2 of 2 PageID #: 770




Defendants seem to argue Claim 17 of U.S. Patent No. 6,724,435 is indefinite, their proposed claim
    .
term could be read to encompass any asserted claim. For each claim Defendants believe to be

indefinite under IPXL Holdings, L.L.C. v. Amazon.com, Inc., 430 F.3d 1377, 1384 (Fed. Cir. 2005),

Defendants must identify that claim specifically. Each identified claim shall be deemed a separate

claim term. Thus, the parties are ORDERED to meet and confer and file an amended P.R. 4-3

Statement within seven (7) days of this order.

       Because the Court resolves both disputes, a hearing is unnecessary. The parties’ Joint

Motion Proposing Dates for Prehearing Conference is DENIED-AS-MOOT.

       So ORDERED and SIGNED this 20th day of March, 2020.




                                                         ____________________________________
                                                         ROBERT W. SCHROEDER III
                                                         UNITED STATES DISTRICT JUDGE




                                           Page 2 of 2
